        Case 2:17-cv-05394-SM-MBN Document 78 Filed 10/23/18 Page 1 of 7



                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

IN THE MATTER OF THE                             §          CIVIL ACTION NO. 2:17-CV-5394
COMPLAINT OF RODI MARINE, LLC,                   §
AS OWNER AND OPERATOR OF THE                     §                            JUDGE MORGAN
M/V WILDCAT, PETITIONING FOR                     §
EXONERATION FROM OR                              §             MAGISTRATE JUDGE NORTH
LIMITATION OF LIABILITY                          §

                    MEMORANDUM IN OPPOSITION OF
           FIELDWOOD ENERGY LLC TO MOTION FOR LEAVE TO FILE
         AMENDED COMPLAINT AND AMENDED THIRD PARTY COMPLAINT

MAY IT PLEASE THE COURT:

         Claimant / third party plaintiff, Fieldwood Energy LLC (“Fieldwood”), files its

memorandum in opposition to the motion for leave to file amended complaint for limitation and

amended third-party complaint (Doc. 75) of Petitioner, Rodi Marine, LLC (“Rodi”), on the

grounds of futility as well as the vagueness and ambiguity of the proposed amended pleadings.

Fieldwood reserves its right to withdraw this opposition memorandum in the event that Rodi

submits a stand-alone substitute/amended complaint for limitation and a stand-alone

substitute/amended third party complaint in advance of the October 31, 2018, hearing on this

motion that cures the following pleading defects.

I.       PROCEDURAL AND FACTUAL BACKGROUND

         This civil action arises out of the April 18, 2017, allision of the M/V WILDCAT with a

marked obstruction to navigation, Platform S, located in Block 23, South Timbalier Area, on the

Outer Continental Shelf off the coast of Louisiana (hereafter “the Allision”). The original

complaint sought exoneration from, or limitation of, liability for the potential personal injury and

property damage claims arising out of the Allision by Rodi Marine, LLC, the purported owner of

the WILDCAT. (Doc. 1.)

{N1552160 -}                                     1
        Case 2:17-cv-05394-SM-MBN Document 78 Filed 10/23/18 Page 2 of 7



         Fieldwood filed an answer (Doc. 10) and a verified claim (Doc. 11) to the original

complaint, denying Rodi’s right to exoneration or limitation of liability, as well as asserting a

claim for contractual indemnity against Rodi.

         Rodi included within its answer to the claim of Antonio Smith, a passenger of the

WILDCAT, its third party complaint against Fieldwood for contractual indemnity. (Doc. 5.)

Fieldwood filed an answer to the third party complaint, denying any and all liability to Rodi for

contractual indemnity, reiterating its right to contractual indemnity from Rodi, and asserting

other affirmative defenses to Rodi’s third party complaint. (Doc. 19.)

         Rodi and Fieldwood subsequently filed cross-motions for summary judgment directed to

the contractual indemnity issues. (Docs. 50 & 58.) One of the factual issues presented in Rodi’s

motion for summary judgment was whether Rodi Marine, LLC qualified as a member of the

“Owner Group” within the Master Time Charter Agreement, more specifically whether Rodi

Marine, LLC was the owner or operator or subcontractor of the owner or operator of the M/V

WILDCAT. The other major factual dispute was whether the Allision arose out of the gross

negligence of the master and crewmembers of the WILDCAT, which was an express exception

to Fieldwood’s contractual indemnity obligations to Owner Group, and therefore Fieldwood did

not owe Rodi (assuming it was a member of the Owner Group) any contractual indemnity as a

matter of law.

         Judge Morgan denied both motions for summary judgment without prejudice finding they

were premature and that there were genuine issues of material fact. (Doc. 73.) The Court also

directed Rodi to file any motion for leave to amend the complaint or the third party complaint by

October 11, 2018. (Id.) Each proposed amendment is discussed separately.




{N1552160 -}                                    2
        Case 2:17-cv-05394-SM-MBN Document 78 Filed 10/23/18 Page 3 of 7



         A.     Proposed Amended Complaint for Exoneration from or Limitation of
                Liability

         The prefatory paragraph of the proposed amended complaint is not directed to the

complaint, but to the third party complaint: “Petitioner, Rodi Marine, LLC, amends its Third-

Party Complaint against Fieldwood Energy as follows:” (Doc. 75-3, pref. para.) As an initial

matter, leave to file the proposed amended complaint should be denied inasmuch as it refers to

another pleading altogether.

         The first numbered paragraph of the proposed amended complaint requests leave to

amend the Paragraph 1 and 2 of the original complaint. Those paragraphs provided as follows:

                                                     1.

                At all times pertinent, Rodi Marine, LLC was a limited liability
         corporation (sic) organized under and existing by virtue of the laws of the States
         of Louisiana, and was the owner of the M/V WILDCAT at all pertinent times.


                                                     2.

                 The M/V WILDCAT is an aluminum-hulled vessel, 155 feet in length,
         official number 981473 operating in, and located in, this judicial district at all
         pertinent times.

(Doc. 1, paras. 1 & 2.)

         The proposed pleading amends Paragraphs 1 and 2 to add Rodi Marine Management,

LLC and GJR, LLC1 as petitioners for limitation of liability, along with Rodi Marine, LLC, all in

the alternative, as the owner(s) and/or operator(s) of the M/V WILDCAT. While the amendment

potentially applies to Paragraph 1, subject to the futility of the amendment discussed infra, it is

unclear to counsel how the requested amendment will affect Paragraph 2 of the original


1
          According to U.S. Coast Guard records produced in this case, GJR Marine, LLC is the registered and
official owner of the M/V WILDCAT. (Doc. 66-2, p. 29 of 35.) The requested addition of “GJR, LLC” as the
purported owner and operator of the M/V WILDCAT is unclear, but does not form a proper basis to object to the
amended complaint and amended third party complaint.

{N1552160 -}                                         3
        Case 2:17-cv-05394-SM-MBN Document 78 Filed 10/23/18 Page 4 of 7



complaint which did not mention petitioner, Rodi Marine, LLC.

         The proposed amendment further provides “in all instances to allege that Rodi Marine,

LLC, Rodi Marine Management, LLC and GJR, LLC are, in the alternative, the owner and/or

operator of the M/V WILDCAT.” (Doc. 75-3, para. 1.) Paragraph 2 of the proposed amended

pleading incorporates by reference the remaining allegations of the original complaint, which

“remains unchanged”. Again, it is unclear where the requested amendment applies “in all

instances” to the remainder of the original complaint which “remains unchanged”.

         As discussed infra, the proposed amendment to the original complaint should be denied

for vagueness and ambiguity. Fieldwood submits that Rodi Marine, LLC should submit a stand-

alone amended complaint in its entirety, without incorporation by reference, which would

eliminate this potential vagueness and ambiguity.

         Also as discussed infra, while the Shipowners’ Limitation of Liability Act (“Limitation

Act”), 46 U.S.C. § 30501 et seq., potentially grants vessel owners the right to limit their liability

to the post-casualty value of the vessel, the Limitation Act by its own terms does not extend such

a right to operators of vessels. Accordingly, to the extent Rodi Marine, LLC, Rodi Marine

Management, LLC or GJR, LLC seek limitation of their liability as alleged operators of the M/V

WILDCAT, such relief is contrary to the statutory language of the Limitation Act, and thus leave

to amend should be denied on that discrete basis.

         B.     Purported Amended Third Party Complaint

         A comparison of the original third party complaint with the allegations of the requested

amended pleading reveals a similar inconsistency as that discussed above as concerns the

proposed amended complaint. Paragraph 2 of the proposed amended pleading “incorporates by

reference the remainder of the Third-Party Complaint, which remains unchanged.”                  Yet



{N1552160 -}                                     4
        Case 2:17-cv-05394-SM-MBN Document 78 Filed 10/23/18 Page 5 of 7



Paragraph 1 requests leave “to add Rodi Marine Management, LLC and GJR, LLC as third-party

plaintiffs, all as the owner(s) and / or operator(s) of the M/V WILDCAT, all in the alternative,

seeking defense and indemnity from Fieldwood, and all the same remedies under the Master

Time Charter Agreement to which Rodi Marine, LLC alleges it is entitled.” (Doc. 75-4, para. 1.)

         As discussed infra, the proposed amendment to the original third party complaint should

be denied for vagueness and ambiguity. Fieldwood submits that Rodi Marine, LLC should

submit a stand-alone amended third party complaint in its entirety, without any incorporation by

reference, to eliminate the foregoing vagueness and ambiguity.

II.      LAW AND ANALYSIS

         The Court granted Rodi Marine, LLC until October 11, 2018 within which to file its

proposed amendment. Accordingly, Fieldwood submits this Court need not review the motion

for compliance with Fed. R. Civ. P. 16.

         Nevertheless, to the extent Rodi Marine, LLC requests leave to amend the original

complaint under Fed. R. Civ. P. 15, it should be denied in part on the grounds of futility. In re

Southmark Corp., 88 F.3d 311, 314-15 (5th Cir. 1996), cert. denied, 519 U.S. 1057 (1997). In

determining “futility”, the Fifth Circuit has instructed the district courts to apply the same

standard of legal sufficiency as applies under Rule 12(b)(6). Stripling v. Jordan Prod. Co., 234

F.3d 863, 872-73 (5th Cir. 2000). Rule 12(b)(6) allows dismissal if a plaintiff fails to state a

claim upon which relief can be granted.

         Generally, the Limitation Act limits the liability of the owner of a vessel for any claim,

debt or liability to the value of the vessel and pending freight. 46 U.S.C. § 30505(a). For

purposes of the Limitation Act, the term “owner” is defined to include “a charterer that mans,

supplies, and navigates a vessel at the charterer’s own expense or by the charterer’s own



{N1552160 -}                                     5
        Case 2:17-cv-05394-SM-MBN Document 78 Filed 10/23/18 Page 6 of 7



procurement”. 46 U.S.C. § 30501. In other words, a bareboat or demise charterer of a vessel

may be entitled to limit its liability, but a time charterer of a vessel cannot. In re Barracuda

Tanker Corp., 281 F. Supp. 228, 231, (S.D.N.Y. 1968), remanded on other grounds, 409 F.2d

1013 (2d Cir. 1969).

         In the currently proposed amended complaint of Rodi Marine, LLC, petitioners have

pleaded entitlement to limitation not only as owner of the M/V WILDCAT, but also as

“operator” of the vessel. The Limitation Act however does not extend its provisions to anyone

other than the owner / bareboat charterer of the vessel. Accordingly, to the extent the amended

complaint is limited to petitioners in their status as owner of the M/V WILDCAT, those

allegations are sufficient to state a cause of action for the remedy afforded the Limitation Act.

         However, to the extent the amended complaint expands the remedy to operators of the

vessel, without further alleging that they manned, supplied or navigated the vessel at their own

expense, they clearly are not entitled to limit their liability. In other words, that portion of the

proposed amendment should be denied as futile. Southmark, supra. Accordingly, the proposed

amendment to the original complaint should be denied to the extent the petitioners are claiming

the remedy of limitation as operators, and nothing more, of the M/V WILDCAT.

          Similarly, this Court has authority to deny a proposed amendment to the extent it

attempts to incorporate by reference an earlier pleading, if the incorporation by reference would

simply add unnecessary confusion and ambiguity to the amended complaint. See e.g., Griffin v.

Zurich Amer. Ins. Co., 2015 WL 12748322 at *5 (N.D. Tex. 2015). In the instant case, a

comparison of the original pleadings with their requested amendments and the incorporation by

reference of the original pleadings “which remain unchanged” leads to confusion. Rather than

file a motion for more definite statement, Fieldwood requests that Rodi Marine submit a stand-



{N1552160 -}                                     6
        Case 2:17-cv-05394-SM-MBN Document 78 Filed 10/23/18 Page 7 of 7



alone substitute/replacement amended complaint and stand-alone substitute/replacement

amended third party complaint without any incorporation by reference to eliminate the existing

confusion under these circumstances.

                                         CONCLUSION

         For the foregoing reasons, this Court should deny Rodi Marine, LLC leave to amend its

complaint and its third party complaint, as those amended pleadings are currently drafted.

Fieldwood reserves the right to withdraw its opposition in the event that Rodi Marine, LLC cures

the defects in its pleadings prior to the hearing on this matter through a stand-alone substitute /

amended complaint and a stand-alone substitute / amended third party complaint.

                                                    Respectfully submitted,


                                                             /s/ James D. Bercaw
                                                     James D. Bercaw, T.A. (20492)
                                                     KING & JURGENS, L.L.C.
                                                     201 St. Charles Avenue, 45th Floor
                                                     New Orleans, Louisiana 70170
                                                     Telephone: (504) 582-3800
                                                     Facsimile: (504) 582-1233
                                                     Email: jbercaw@kingkrebs.com

                                                     Counsel for Claimant / Third Party
                                                     Defendant, Fieldwood Energy LLC

                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 23, 2018, I electronically filed the foregoing with the

Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to all

counsel of record.

                                                            /s/ James D. Bercaw




{N1552160 -}                                    7
